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 4                             UNITED STATES DISTRICT COURT
 5                                    DISTRICT OF NEVADA
 6
     LISA GORDON,
 7                                                        Case No.: 2:22-cv-00351-RFB-NJK
            Plaintiff,
 8                                                                      ORDER
     v.
 9                                                                   [Docket No. 7]
     REPROSOURCE FERTILITY
10   DIAGNOSTICS, INC.,
11          Defendant.
12         Pending before the Court is the parties’ stipulation to extend the time for Defendant to
13 respond to the complaint. Docket No. 7. For good cause shown, the Court GRANTS in part the
14 parties’ request. Defendant must file a response to Plaintiff’s complaint, no later than March 31,
15 2022.
16         IT IS SO ORDERED.
17         Dated: March 7, 2022
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                                                               Nancy J. Koppe
19                                                             United States Magistrate Judge
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